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UNITED STATES DISTRICT COURT                                                    DATE FILED: 03/05/2021
SOUTHERN DISTRICT OF NEW YORK
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                                                                     :
 AQUAVIT PHARMACEUTICALS, INC.,                                      :
                                                                     :
                                              Plaintiff,             :    19-CV-3351 (VEC)
                                                                     :
                            -against-                                :   AMENDED ORDER OF
                                                                     :   REFERENCE TO THE
 U-BIO MED, INC., GLOBAL MEDI PRODUCTS,                              :   MAGISTRATE JUDGE
 and NYUN SHI EUM aka NYON-SIK EUM,                                  :
                                                                     :
                                              Defendants.            :
                                                                     :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS on March 4, 2021, Plaintiff moved to modify the modified preliminary

injunction (“MPI”), at docket entry 65, based on Defendants’ alleged open and continuous

violations of the MPI as well a recent ruling by the European Union Intellectual Property Office

that Plaintiff alleges invalidates Defendants’ European Union trademark in its entirety, Dkt. 238;

        WHEREAS on March 5, 2021, Defendants responded in opposition to the motion,

arguing in part that the request was premature, inappropriately made as a letter motion, and that

full briefing was more appropriate, Dkt. 239;

        WHEREAS the Court has previously referred the determination of an appropriate amount

of compensatory damages and a motion for coercive sanctions to Magistrate Judge Lehrburger,

Dkts. 181, 186, 204; and

        WHEREAS Plaintiff’s motion to modify the MPI relates in substance to the motions

currently before Magistrate Lehrburger;

         IT IS HEREBY ORDERED that the motion to modify the MPI is also referred to Judge

Lehrburger, to be addressed in the same report and recommendation as the sanctions’ motions.
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Judge Lehrburger is welcome to request additional briefing by the parties and to set a briefing

schedule as needed.

SO ORDERED.
                                                       _____________________________
Date: March 5, 2021                                        VALERIE CAPRONI
      New York, New York                                   United States District Judge




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